                  Case 1:19-cr-00060-JAJ-HCA Document 7 Filed 11/21/19 Page 1 of 1

                            United States District Court for the Southern District of Iowa

Presiding: Honorable Helen C. Adams, Chief U.S. Magistrate Judge
Criminal No. 1:19-cr-00060-JAJ-HCA-1         : Clerk’s Court Minutes – Initial Appearance/Arraignment
_______________________________________________________________________________________________________________________________________

United States of America vs. Brian Allen Christensen
_______________________________________________________________________________________________________________________________________

Gov. Atty(s): Shelly M. Sudmann                           : ✔ Indictment    Superseding Indictment       Information
Def. Atty(s): Bradley Ryan Hansen                         : Complaint       Warrant
Court Reporter: FTR Gold                                  : Code Violation/Offense:
Interpreter: N/A                                          : Ct. 1: 18:2252(a)(2), 2252(b)(1). Receipt of Child
___________________________________________________________
                                                            Pornography
Date: November 21, 2019                                   : Ct. 2: 18:2252(a)(4)(B), 2252(b)(2). Possession of Child
Time Start: 12:19 PM Time End: 12:26 PM                   : Pornography
_______________________________________________________________________________________________________________________________________

                                                        Initial Appearance
✔ Defendant Advised of Rights
Representation:   ✔ Appointed FPD                    Appointed CJA               Retained Counsel
Next Court Event:   Preliminary                      Arraignment                 Removal Hearing
      Set for:
_______________________________________________________________________________________________________________________________________

                                                            Arraignment
Trial Scheduled for: 1/13/2020                            :      Advised of Charges/Maximum Penalties
Rule 16 Material due: 11/27/2019                          :      Indicted in True Name
Reciprocal Discovery due: 12/6/2019                       :        True Name:
Pretrial Motions due: 12/9/2019                           :      Reading of Indictment Waived
Plea Notification Deadline:                               : Plea of Not Guilty Accepted as to Ct(s):
Plea Entry Deadline: 12/18/2019                           :      Denied Forfeiture
_______________________________________________________________________________________________________________________________________

                                         Custody Status
✔ Government Moved for Detention             Detention Hearing Set: 11/25/2019 at 3:30 PM
Court Ordered Defendant: Released on Bond ✔ Detained
_______________________________________________________________________________________________________________________________________
Minutes:
Defendant appeared with Federal Public Defender Brad Hansen. Court appointed Federal Public Defender to
represent defendant. Defendant advised of rights. 12:21 PM Arraignment began. Court set dates. Government
moved for detention. Court set the detention hearing for November 25, 2019 at 3:30 PM before the Honorable
Helen C. Adams via video-conference. Court ordered defendant to detained pending further proceedings.

Plea Entry Deadline of December 18, 2019 was set; Defendant was advised that failure to enter a plea by this date
may negatively impact consideration and finding regarding reduction in offense level based upon Acceptance of
Responsibility pursuant to USSG.




                                                                                         /s/ S. Corlis
                                                                                         __________________________
                                                                                         Deputy Clerk
